                   Case: 1:21-cv-02576 Document #: 9 Filed: 06/24/21 Page 1 of 3 PageID #:129
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                   NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
         Centrust Bank, N.A.,
                                     Plaintiff,
                                                                CASE NUMBER: 21-cv-2576

                                V.                              ASSIGNED JUDGE: Sara Ellis
          Ruben Ybarra, YRY Holdings, LLC
                                                                DESIGNATED
          and Boulder Hill Apartments, LLC                      MAGISTRATE JUDGE: Maria Valdez
                                     Defendants.

                 TO: (Name and address of Defendant)
              Boulder Hill Apartments, LLC
              c/o YRY Holdings, LLC, Registered Agent
              4 Rocky Way, Apt. 13,
              Montgomery, IL 60538
          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)
                                                       Adam B. Rome of Greiman, Rome & Griesmeyer, LLC
                                                       205 West Randolph St., Ste. 2300
                                                       Chicago, IL 60606
                                                       (312) 428-2750/arome@grglegal.com

an answer to the complaint which is herewith served upon you,                 21             days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK

                                                                                          May 13, 2021

     (By) DEPUTY CLERK                                                                    DATE
                    Case: 1:21-cv-02576 Document #: 9 Filed: 06/24/21 Page 2 of 3 PageID #:130
AO 440 (Rev. 05/00) Summons in a Civil Action
                                                                 RETURN OF SERVICE
                                                                                        DATE
          Service of the Summons and complaint was made by me(1)
NAME OF SERVER (PRINT)                                                                  TITLE


   Check one box below to indicate appropriate method of service

          G Served personally upon the defendant. Place where served:




          G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein.
              Name of person with whom the summons and complaint were left:

          G Returned unexecuted:




          G Other (specify):




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                      TOTAL



                                                              DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on
                                        Date                    Signature of Server




                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
              Case: 1:21-cv-02576 Document #: 9 Filed: 06/24/21 Page 3 of 3 PageID #:131



              IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS

CENTRUST BANK, N.A.                                               Case No.:         1:21-CV-02576
                                           Plaintiff/Petitioner
vs.
RUBEN YBARRA, ET AL.                                              AFFIDAVIT OF SERVICE OF
                                     Defendant/Respondent         SUMMONS; COMPLAINT


I, Steve Hupke, depose and say the following:

I certify that I am over the age of eighteen. I am not a party to the above action. I am a registered private detective or a
registered employee of a private detective agency, License No. #129.338624, located at 633 Yesler Way, Seattle, WA
98104.

On the 28th day of May, 2021 at 5:14 PM, I, Steve Hupke, SERVED Boulder Hill Apartments, LLC at 24 HILLSTONE,
MONTOMERY, Kendall County, IL 60538 in the manner indicated below:

CORPORATE SERVICE, by personally delivering 1 copy(ies) of the above listed documents to the named Corporation,
by serving Norelli Lopez , on behalf of said Corporation.

THE DESCRIPTION OF THE PERSON WITH WHOM THE COPY OF THIS PROCESS WAS LEFT IS AS FOLLOWS:
EMPLOYEE, who accepted service with direct delivery, with identity confirmed by subject stating their name, a
black-haired Hispanic female approx. 25-35 years of age, 5'6"-5'8" tall and weighing 160-180 lbs.

Service Fee Total: $67.50

Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the undersigned certifies
that the statements set forth in this Affidavit of Service are true and correct.



NAME:                                                       #129.338624                         05/28/2021
          Steve Hupke                                       Server ID #                          Date




                                                                                                                   Page 1 of 1
           REF: REF-8137245                                                                             Tracking #: 0070903464
